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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           Case No.: 23-80101-CR-CANNON/REINHART

   UNITED STATES OF AMERICA

   v.

   DONALD J. TRUMP and
   WALTINE NAUTA,

          Defendants.
                                          /

                              CERTIFICATION OF TODD BLANCHE

          Todd Blanche, Esquire, pursuant to Rule 4(b)(1) of the Rules Governing the Admission,

   Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have studied the

   Local Rules of the United States District Court for the Southern District of Florida; (2) I am a

   member in good standing of the Bar of the State of New York; and (3) I have not filed more than

   three pro hac vice motions in different cases in this District within the last 365 days.


                                                                 s/ Todd Blanche
                                                                 Todd Blanche
